     Case 2:19-cv-08726-TJH-PLA Document 95 Filed 08/03/23 Page 1 of 7 Page ID #:765



 1

 2

 3

 4

 5

 6

 7

 8                   United States District Court
 9                   Central District of California
10                        Western Division
11

12     INNOVATIVE SPORTS                              CV 19-08726 TJH (PLAx)
       MANAGEMENT, INC., d.b.a.
13     INTEGRATED SPORTS MEDIA,
14                       Plaintiff,
                                                            Order
15           v.
                                                              and
16     CLAUDIA A. PORTOCARRERO,
       d.b.a. PICANTE PERUVIAN                       Order to Show Cause
17     CUISINE, et al.,
18                       Defendants.
19

20

21

22          The Court has considered Defendant Claudia A. Portocarrero’s motion to set
23    aside the default judgment [dkt. # 89], together with the moving and opposing papers.
24          Allegedly, Innovative, a New Jersey corporation, held the exclusive United
25    States commercial distribution rights to Chile v. Peru International Friendly Soccer
26    Game [“the Soccer Game”], which was broadcasted nationwide on Friday, October 12,
27    2018. Innovative alleged that it acquired the rights to the Soccer Game on August 27,
28    2018, through a contract with Lions Sports & Media S.A.

                                             Order and Order to Show Cause     Page 1 of 7
     Case 2:19-cv-08726-TJH-PLA Document 95 Filed 08/03/23 Page 2 of 7 Page ID #:766



 1          On October 10, 2019, Innovative filed this action, alleging that Portocarrero and
 2    Defendant Luis Alejandro Tipacti, doing business together as Picante Peruvian Cuisine,
 3    displayed the Soccer Game at Picante without a license.
 4          On July 28, 2022, the Court granted Innovative’s motion for terminating
 5    sanctions because Portocarrero and Tipacti repeatedly failed to comply with the Court’s
 6    orders. Consequently, Portocarrero and Tipacti’s Answers were stricken and their
 7    defaults were entered.
 8          On December 9, 2022, the Court granted Innovative’s motion for default
 9    judgment against Portocarrero and Tipacti as to Innovative’s copyright infringement
10    claim. Default judgment was entered against Portocarrero and Tipacti, jointly, in the
11    amount of $2,000.00. Innovative’s remaining claims were voluntarily dismissed.
12          Portocarrero, now, moves to set aside the default judgment because Innovative
13    was not, and is not, a corporation in good standing.
14    Relief from Default Judgment
15          Under Fed. R. Civ. P. 60(b), the Court can grant relief from a judgment if, inter
16    alia, the judgment is void, there was a misrepresentation or misconduct by an opposing
17    party, or for any other reason that justifies relief. Rule 60(b) is an equitable remedy
18    that gives the Court the authority to a vacate judgment “whenever such action is
19    appropriate to accomplish justice.” United States v. Sparks, 685 F.2d 1128, 1130 (9th
20    Cir. 1982). However, Rule 60(b) requires extraordinary circumstances to justify the
21    setting aside of a final judgment. Henson v. Fid. Nat'l Fin., Inc., 943 F.3d 434,
22    443–44 (9th Cir. 2019).
23          A corporation’s capacity to sue is determined by the law of the state where it was
24    organized. Fed. R. Civ. P. 17(b). Here, Innovative was organized, and incorporated,
25    in New Jersey.
26          In its opposition to the instant motion, Innovative requested the Court to take
27    judicial notice of two documents – a status report issued by the State of New Jersey,
28    dated June 8, 2023, and, a letter from the New Jersey State Treasurer, dated June 8,

                                              Order and Order to Show Cause       Page 2 of 7
     Case 2:19-cv-08726-TJH-PLA Document 95 Filed 08/03/23 Page 3 of 7 Page ID #:767



 1    2023. The status report stated that Innovative’s New Jersey certificate of incorporation
 2    was, indeed, revoked in 2015 for its failure to pay the fees associated with its annual
 3    reports, and that its current corporate status is Reinstatement Pending.
 4            If a New Jersey corporation fails to file its mandated annual report for two
 5    consecutive years, or if it fails to pay the required fees associated with those annual
 6    reports, “the State Treasurer may issue a proclamation declaring that the certificate of
 7    incorporation of the corporation has been revoked and that all powers conferred by law
 8    upon it shall thereafter be inoperative and void.”         N.J. Stat. Ann. § 14A:4-5
 9    (emphasis added); N.J. Stat. Ann. § 14A:1-6(1)(b); N.J. Stat. Ann. § 14A:15-2(6).
10    Based on the New Jersey records provided by Innovative, it is clear that Innovative’s
11    certificate of incorporation was revoked, and remains revoked, apparently, because it
12    has not paid its mandated fees.
13            A New Jersey corporation with a revoked certificate of incorporation is precluded
14    from filing a lawsuit. E & V Constr. Co., Inc. v. Deeper Life Bible Church, 2018 WL
15    2012109, at *1-*2 (N.J. App. Div. May 1, 2018).              Moreover, a New Jersey
16    corporation with a revoked certificate of incorporation cannot conduct any business,
17    including entering into contracts; however, the corporation can conduct necessary
18    business required to wind down its business. E & V Constr. Co. v. Deeper Life Bible
19    Church, 2018 WL 2012109 at *2; N.J. St. Ann. § 14A:12-1(1)(g); N.J. St. § 14A:12-
20    9(1).    Consequently, a New Jersey corporation with a revoked certificate of
21    incorporation can sue or be sued, or enter into contracts, only within the context of
22    winding down its business. Needle v. Byram Cove, Inc., No. A-1196-08T3, 2010 WL
23    2555710, at *9 (N.J. Super. Ct. App. Div. June 24, 2010).
24            A corporation with a revoked certificate of incorporation can be restored to good
25    standing only after it has complied with the reinstatement requirements of N.J. Stat.
26    Ann. 14A:4–5(7) and after the State Treasurer has, actually, reinstated the
27    corporation’s certificate of incorporation. E & V Constr., 2018 WL 2012109 at *2.
28    Further, after a New Jersey corporation is restored to good standing, New Jersey law

                                                Order and Order to Show Cause      Page 3 of 7
     Case 2:19-cv-08726-TJH-PLA Document 95 Filed 08/03/23 Page 4 of 7 Page ID #:768



 1    deems the reinstatement to relate back to the date the certificate of incorporation was
 2    revoked, which effectively validates all actions performed by the corporation during the
 3    period that it was not in good standing. N.J. Stat. Ann. 14A:4–5(7).
 4          Here, under New Jersey law, Innovative has been prohibited from conducting
 5    business, including entering into new contracts or filing new lawsuits, since 2015. This
 6    action was filed in 2019. Moreover, this action was based on exclusive distribution
 7    rights that Innovative, allegedly, acquired by a contract entered into in 2018, when it
 8    lacked the legal ability to enter into contracts. Innovative’s actions in this, and other,
 9    cases were not limited to business affairs related to the winding down of its business.
10          Thus, Innovative prosecuted this case, and many other cases in the Central
11    District of California, when it lacked the capacity to file and prosecute cases.
12    Moreover, this case, and others, were based on rights that Innovative could not have
13    legally acquired because it lacked the capacity to contract at the time it contracted.
14          Consequently, given the extraordinary circumstances, here, the default judgment
15    entered against Portocarrero and Tipacti must be vacated in the interests of justice. See
16    Sparks, 685 F.2d at 1130.
17    Order to Show Cause
18          Since February, 2015, Innovative, and its counsel, Thomas P. Riley, have filed
19    and prosecuted scores of cases in the Central District of California, despite the fact that
20    Innovative lacked, and continues to lack, the legal ability to file and prosecute those
21    cases. Indeed, based on Innovative’s opposition to the instant motion, its officers,
22    directors, and counsel, here, knew, or should have known, that its New Jersey
23    certificate of incorporation had been, and remains, revoked. Consequently, the Court
24    will order (1) Innovative; (2) its president, Douglas K. Jacobs; and (3) its counsel,
25    here, Thomas P. Riley, to show cause why it should not sanction them and/or hold
26    them in criminal contempt.
27    Rule 11 Sanctions
28          By filing an action, a motion, or any other papers with a District Court, Fed. R.

                                                Order and Order to Show Cause       Page 4 of 7
     Case 2:19-cv-08726-TJH-PLA Document 95 Filed 08/03/23 Page 5 of 7 Page ID #:769



 1    Civ. P. 11 imposes a duty on attorneys to self-certify that, to the best of his knowledge,
 2    all claims and positions taken were the product of a reasonable inquiry, were warranted
 3    by law, and were based on factual contentions that have evidentiary support. Fed. R.
 4    Civ. P. 11(b)(2),(3). That duty is personal and non-delegable. Bus. Guides, Inc. v.
 5    Chromatic Commc'ns Enterprises, Inc., 498 U.S. 533, 546-47 (1991). Further, Rule
 6    11 applies to anyone, including non-attorneys, who signs a document that is filed with
 7    a federal court. Bus. Guides, Inc. Finally, anyone who violates Rule 11 may be
 8    sanctioned. See Pan-Pac. & Low Ball Cable Television Co. v. Pac. Union Co., 987
 9    F.2d 594, 597 (9th Cir. 1993).
10          Since February, 2015, a period of about eight years, Innovative’s counsel,
11    Thomas P. Riley, as an officer of the Court, filed scores of cases, pleadings and other
12    documents as the representative of a corporation that lacked the capacity to file and
13    prosecute cases.
14          Innovative’s president, Douglas K. Jacobs, may, also, be subject to Rule 11
15    sanctions based on his actions, or inactions, here. In this, and almost all of the other
16    cases Innovative filed in this District, the Court received at least one declaration signed
17    by Jacobs under penalty of perjury. “Quite often it is the client, not the attorney, who
18    is better positioned to investigate the facts supporting a paper or pleading.” Bus.
19    Guides, Inc., 498 U.S. at 549.
20           The effects of the actions taken by Innovative, Jacobs and Riley, in this District,
21    have been significant. Since 2015, scores of restaurant owners and operators have been
22    forced to defend cases that could not have been legally filed or prosecuted by
23    Innovative. Moreover, some of the defendants have incurred judgments obtained by
24    a corporate plaintiff that lacked the capacity to sue them. Litigation conduct is
25    sanctionable when it “tend[s] to impose unjustified burdens on other parties, frustrate[s]
26    those who seek to vindicate their rights in the courts, obstruct[s] the judicial process,
27    and bring[s] the civil justice system into disrepute.” Matter of Yagman, 796 F.2d 1165,
28    1182 (9th Cir. 1986). The situation, here, appears to warrant sanctions under Rule 11.

                                                Order and Order to Show Cause       Page 5 of 7
     Case 2:19-cv-08726-TJH-PLA Document 95 Filed 08/03/23 Page 6 of 7 Page ID #:770



 1    Inherent Authority of the Court
 2          In addition to Rule 11, the Court has the inherent authority to sanction bad-faith
 3    conduct committed by parties and attorneys who invoke its jurisdiction. Chambers v.
 4    NASCO, Inc., 501 U.S. 32, 46 (1991). Bad-faith conduct includes, but is not limited
 5    to, the filing of pleadings that contain false information which forces opposing parties
 6    to litigate a case that should not rightfully be prosecuted. See Chambers, 501 U.S. at
 7    41. The Court’s inherent authority permits it to sanction attorneys and parties for bad-
 8    faith conduct even if sanctions can, also, be imposed under other rules. Chambers, 501
 9    U.S. at 50.
10    Criminal Contempt
11          Under 18 U.S.C. § 401, the Court may, also, hold an attorney or a party in
12    criminal contempt to punish their misbehavior, including, inter alia, the pursuit of
13    meritless litigation, the filing of false declarations filed under penalty of perjury, and
14    the presentation of false evidence. United States v. Thoreen, 653 F.2d 1332, 1339–40
15    (9th Cir. 1981).
16          The actions of Innovative, Jacobs and Riley, in this and other cases filed by
17    Innovative in this District, are, indeed, punishable by criminal contempt.
18

19          Accordingly,
20

21          It is Ordered that the motion to set aside the default judgment be, and hereby
22    is, Granted as to all Defendants.
23

24          It is further Ordered that Innovative Sports Management, Inc., Douglas K.
25    Jacobs, and Thomas P. Riley shall appear in person on Monday, September 11, 2023,
26    at 10:00 a.m., before Judge Terry J. Hatter, Jr. of the United States District Court for
27    the Central District of California, in Courtroom 9C, located at 350 West 1st Street, Los
28    Angeles, California, To Show Cause, if any, why you should not be sanctioned and/or

                                                Order and Order to Show Cause       Page 6 of 7
     Case 2:19-cv-08726-TJH-PLA Document 95 Filed 08/03/23 Page 7 of 7 Page ID #:771



 1    held in contempt.
 2

 3          It is further Ordered that Innovative Sports Management, Inc., Douglas K.
 4    Jacobs, and Thomas P. Riley shall file written responses to this Order to Show Cause
 5    by August 28, 2023.
 6

 7          It is further Ordered that, pending further order of the Court, Innovative
 8    Sports Management, Inc. shall not file any new lawsuit, shall immediately cease
 9    prosecuting all pending lawsuits in all courts, and shall immediately cease enforcing
10    any outstanding judgment it has obtained.
11

12          It is further Ordered that Innovative Sports Management, Inc. shall, within
13    five (5) days of the date of this order, file a copy of this order (1) in all pending
14    lawsuits where it is a plaintiff; (2) in all lawsuits where it has an unpaid judgment; and
15    (3) in all lawsuits where it has obtained a judgment since 2015, even if the judgment
16    has been satisfied.
17

18    Date: August 3, 2023
19

20                                                       Terry J. Hatter, Jr.
21
                                                  Senior United States District Judge

22

23

24

25

26

27

28


                                                Order and Order to Show Cause       Page 7 of 7
